  Case 2:22-cv-00460-KJM-JDP               Document 72-1        Filed 05/12/23   Page 1 of 1
                             UNITED STATES DISTRICT COURT
                                       FOR THE
                            EASTERN DISTRICT OF CALIFORNIA

                                    OFFICE OF THE CLERK
                                         501 "I" Street
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TO:            CLERK, U.S. COURT OF APPEALS


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SUBJECT:       NEW APPEALS DOCKETING INFORMATION


CASE INFORMATION

USDC Number:                           2:22−CV−00460−KJM−JDP

USDC Judge:                            CHIEF DISTRICT JUDGE KIMBERLY J. MUELLER

USCA Number:                           NEW APPEAL

Complete Case Title:                   PATRICIA A. E. MIROTH vs. COUNTY OF TRINITY

Type:                                  CIVIL

Complaint Filed:                       3/10/2022

Appealed Order/Judgment Filed:         4/14/2023

Court Reporter Information:




FEE INFORMATION

                                       Fee Status: IFP Granted on 4/5/2022



                   Information prepared by: /s/ E. Rodriguez , Deputy Clerk
